Case 8:23-cv-00713-JWH-ADS Document 11 Filed 05/23/23 Page 1of1 Page ID #:43

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES—
GENERAL

Case No. _8:23-cv-00713-JWH(ADSx) Date May 23, 2023

 

Title Truman Fischesser v. AR Resources Inc

 

 

Present: The Honorable JOHN W. HOLCOMB, UNITED STATES DISTRICT JUDGE

 

 

 

Clarissa Lara Not Reported

Deputy Clerk Court Reporter
Attorney(s) Present for Plaintiff(s): Attorney(s) Present for Defendant(s):

None Present None Present

Proceedings: (IN CHAMBERS) Order to Show Cause re Dismissal for
Lack of Prosecution

Generally, each Defendant must answer or otherwise respond to the
complaint within 21 days after service (60 days if the Defendant is the United
States). Fed. R. Civ. Proc. 12(a)(1).

In the present case, it appears that Plaintiff served the summons and
complaint on one or more Defendants more than 21 days ago (60 days if the
Defendant is the United States), but such Defendant(s) did not file an answer or
otherwise respond to the complaint. Accordingly, the Court, on its own motion,
hereby orders Plaintiff to show cause in writing on or before June 2, 2023, why this
action should not be dismissed, with respect to each Defendant who has not filed
an answer or otherwise responded to the complaint. Pursuant to Rule 78 of the
Federal Rules of Civil Procedure, the court finds that this matter is appropriate for
submission without oral argument. This Order to Show Cause will be discharged if
Plaintiff files, before the deadline set forth above, a request for the entry of default
with respect to the applicable Defendant(s). Fed. R. Civ. Proc. 55(a).

IT ISSO ORDERED.

 

Page 1 of 1 CIVIL MINUTES— GENERAL Initials of Deputy Clerk cla
